UNITED STATES DISTRICT COURT Job #: 1531971
STATE OF NEW YORK, EASTERN DISTRICT

Attorney: LEVIN EPSTEIN & ASSOCIATES PC
Address: 60 EAST 42ND ST., STE#4700 NEW YORK , NY 10165

AARON HERNANDEZ, ON BEHALF OF HIMSELF AND OTHERS SIMILARLY SITUATED IN THE

PROPOSED FLSA COLLECTIVE ACTION Index Number; 1:22-CV-06918-DG-TAM

Plaintiff Client's File No.: hernandez vs. happy st

VS
HAPPY STREET LLC, HAPPY STREET TOO LLC, AND SLOBODAN RADIVOJEVIC (A/K/A BOB Court Date:
RADIVOJEVIC)
Defendant Date Filed: 11/14/2022
STATE OF NEW YORK, COUNTY OF QUEENS, SS:: AFFIDAVIT OF SERVICE

NICHOLAS VIVEROS, being sworn says:
Deponent is not a partly herein; is over the age of 18 years and resides in the State of New York.

On 5/8/2023, at 11:02 AM at: 924 COLUMBUS AVENUE, NEW YORK, NY 10025 Deponent served the within SUMMONS IN A CIVIL ACTION
AND COMPLAINT, CIVIL COVER SHEET

On: HAPPY STREET TOO LLC, Defendant therein named.

[3 #1 Corporation or Partnership or Trust or LLC or Non-Profit
By delivering thereat a true copy of each to John Doe, REFUSED NAME personally, Deponent knew said corporation/partnership/trusvLLC/Non-Profit
so served to be the corporation/partnership/trusvLLC/Non-Profit described in said aforementioned document as said Defendant and knew said
individual to be General Agent thereof,

#2 DESCRIPTION

Sex: Male Color of skin: Tan Color of hair: Wearing Hat Glasses:

Age: 36-46 Helght: Sft 4in - Sf 8in Weight: 161-200 Lbs. Other Features:
C #3 WITNESS FEES

Subpoena Fee Tendered in the amount of
[] #4 OTHER

Sworn to before me on 5/9/2023

oNOTARY PUBLIC, Stato of Now York NICHOLAS VIVEROS
2 OTe Expires August 32023 DCA License # 2094853-DCA

Prerernep Process Servers Inc 166-06 2474 Ro, LL, Wairesrone, NY 11357 718-362-4890 Lich2003142-DCA
